Case 1:19-cv-00190-RB-GJF Document1-1 Filed 03/07/19 Page 1 of 59

ae:

  
  
    

ay, CT Corporation Service of Process
Transmittal
02/11/2019

CT Log Number 534899567

TO: Rachel Osane
Allstate Insurance Company
MCO Office, 222 5, Mill Avenue
Tempe, AZ 85281

RE: Process Served in New Mexico

FOR: Allstate Insurance Company (Domestic State: IL)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION: LAURENT DOCKERY AND ODILIA DOCKERY, PLIFS. vs. ALLSTATE INSURANCE COMPANY,
DOCUMENT(S) SERVED: Letter, Summons, Return, Complaint, Interrogatories, Request, Exhibit
CQURTIAGENCY: COUNTY OF SANTA FE - FIRST JUDICIAL DISTRICT COURT, NM

Case # D101CV201900208
NATURE OF ACTION: Insurance Litigation

ON WHOM PROCESS WAS SERVED: CT Corporation System, Espanola, NM

DATE AND KOUR OF SERVICE: By Certified Mail on 02/11/2019 postmarked: "Not Post Marked”
JURISDICTION SERVED : New Mexico

APPEARANCE OR ANSWER GUE! No later than 30days from the date you are served with this Summons
ATTORNEY(S} / SENDER(S}: Andrea D. Harris

CARTER & VALLE LAW FIRM, PC
8012 Pennsylvania Circe NE
Albuquerque, NM 87110
505-888-4357

ACTION ITEMS: CT has retained the current log, Retain Date: 02/12/2019, Expected Purge Date:
02/17/2019

image SOP
Email Notification, Shanita Jackson Shanita. Jackson@allstate.com

Email Notification, Rachel Dsane ckx8y@Allstate.com

SIGNED: C T Corporation Systern

ADDRESS: 206 5. Coronado Ave
Espanola, NM 87532

TELEPHONE: 214-932-3601

Page 1 of 1/ RM

Information displayed on this transmittal ts for CT
Corporation's record keeping purposes onty and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
: os amount of damages, the answer date, or any information
EXHIBIT . contained in the documents themseives. Recipient ts
e responsible for Interpreting said documents and for taking

Ee appropriate action. Signatures on certified mail recelpts
A F : confirm receipt of package only, not contents,

 

 
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STATE OF NEW MEXICO
OFFICE OF SUPERINTENDENT OF INSURAN CE

DEPUTY SUPERINTENDENT ALP DEPUTY SUPERINTENDENT

ws,
Robert E. Doucette, Jr. = 43)5| Bryan E, Brock
m-. we

SUPERINTENDENT OF INSURANCE
John G. Franchini

February 8 2019

Allstate Insurance Company
CT Corp System

206 So Coronado Ave
Espanola, NM 87532

RE: LAURENT DOCKERY AND ODILIA DOCKERY V. ALLSTATE INSURANCE

COMPANY
D-101-CV-2019-00208

Dear Sir or Madam:

In accordance with the provisions of NMSA 1978, Sections 59A-5-31 & S9A-S-32, enclosed is a
copy of a Summons, Complaint, and Discovery requests on the above styled cause. Service was
accepted on your behalf on 2/8/2019.

Respectfully,

Hele rons :

John G. Franchini, Superintendent

CERTIFIED MAIL# 7012 3460 0000 1404 7025

Main Office: 1120 Paseo de Peralta, Room 428, Santa Fe, NM 8750!
Satellite Office: 6200 Uptown Bivd NE, Suite 100, Albuquerque, NM 871 {0
Main Phone: (505) 827-4601 | Satellite Phone: (505) 322-2186 | Toll Free: (855) 4 - ASK - OSI

wWww.osi. state.nm.us

 
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SUMMONS

 

 

 

 

STATE OF NEW MEXICO Case Number: D-101-CV-2019-00208

COUNTY OF SANTA FE ,

FIRST JUDICIAL DISTRICT COURT mo

Judge:

Judge Steve Herrera Judicial Complex ,

225 Montezuma Avenue The Honorable Matthew Justin Wilson

P.O, Box 2268

Santa Fe, New Mexico 87504-2268

(505) 455-8250

LAURENT DOCKERY and TO:

ODILIA DOCKERY, ALLSTATE INSURANCE COMPANY
Plaintiffs, c/o Olfice of Superintendent

v. PO Box 1689

ALLSTATE INSURANCE COMPANY, -Santa Fe, Now Mexico 87504-1689
Defendants.

 

TO THE ABOVE NAMED DEFENDANT(S): Take notice that

L. A lawsuit has been filed against you. A copy of the lawsuit is attached, ‘The Court issued
this Summons,
2. You must respond to this lawsuit in writing. You must file your written response with the

Court no later than thirty (30) days from the date you are served with this Summons. (The date
you are considered served with the Summons is determined by Rule 1-004 NMRA). The Court’s
address is listed above.

3. You must file (in person or by mail) your written responses with the Court. When you
file your response, you must give or mail a copy to the person who signed the lawsuit.

4. If you do not respond in writing, the Court may enter judgment against you as requested
in the tawsuit.

5. You are entitled to a jury trial in most types of lawsuits. To ask for’a jury trial, you must
request one in writing and pay a jury fee. ,

6. If you need an interpreter, you must ask for one in writing.

7 You may wish to consult a lawyer. You may contact the State Bar of New Mexico for
help finding a lawyer at www.nmbar.org; 1-800-876-6657; or 1-505-797-6066.

 

 
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Dated at_ Santa Fe , New Mexico, this 31 dy of _ January ,2019_

STEPHEN T. PACHECO

CLERK OF COUR

 

fst, ris
Signature of Attorney for Plaintiff
Name: Andrea D. Harris
Richard J. Valle
; . Carter & Valle Law Firm, P.C.
Address: 8012 Pennsylvania Circle NE
. Albuquerque, NM 87110
Telephone No.: (505) 888-4357
Fax No: > © (505) 883-5613

" Email Address: adh@ecarterlawfirm.com

ry@carterlawfirm.com

THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO RULES
OF CIVIL PROCEDURE FOR DISTRICT COURTS. -

 
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RETURN
STATE OF NEW MEXICO ) .
)ss.
COUNTY OF )
1, being duly sworn, on cath, state that | am over the age of eighteen (18) yeurs and not a party to
this lawsuit, and that I served this summons in __. County on the day of

, by delivering a copy of this summons, complaint and discovery

a rrrecenemmrinamamenaeanarerer
requests attached in the following manner:

(check one box and fill in appropriate blanks)

[] to the defendant (used when defendant accepts a copy of
summons and complaint or refuses to accept the summons and coniplaint)

{] to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA (used
when service is by mail or commercial courier service),

After attempting to serve the summons and complaint ori the defendant by personal service or by

mail or commercial courier service, by delivering a copy of this summons, with a copy of

complaint attached, in the following manner:

[] to , aperson over fifteen (15) years of age and residing at
the usual place of abode of defendant , -_, (used when the defendant is
not presently at place of abode) and by mailing by first class mail to the defendant at

(insert defendant's last known mailing address) a copy of the

summons and complaint. ‘

 

 

 

{] to , the person apparently in charge at the actual place of
business or employment of the defendant and by mailing by first class mail to the
defendant at (insert defendant's business address) and

 

by mailing the summons and complaint by first class mail to the defendant at
(insert defendant's last known mailing address).

 

 

{] to , an agent authorized to reccive service of process for
defendant

[] to , [parent] [guardian] [custodian] [conservator] [guardian ed
litem) of defendant (used when defendant is a minor or an
incompetent person). |

(] to (name of person),

 

_, {title of person authorized to receive service. Use
this alternative when the defendant is a corporation or an association subject to a suit
under a common name, a land grant board of trustees, the State of New Mexico or any
political subdivision). ,

Fees: '

 

 

Signature of person making service

 

Title (ifany)

 
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Subscribed and sworn to before me this day of :

 

 

Judge, notary or other officer
authorized to administer oaths

 

Official title

USE NOTES
1. Unless otherwise ordered by the court, this return is not to be filed with the court prior to service
of the summons and complaint on the defendant.
2. If service is made by the sheriff or a deputy sheriff of a New Mexico county, the signature of the
sheriff or deputy sheriff need not be notarized. eT
[Adopted effective August 1, 1998; as amended by Supreme Court Order 05-8300-01, effective
March |, 2005; by Supreme Court Order 07-8300- 16, effective August {, 2007; by Supreme Court
Order No. 12-8300-026, effective for all cases filed or pending on or after January 7, 2013,]

 
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FILED
4st JUDICIAL DISTRICT COURT
Santa Fe County
4/29/2019 3:49 PM
STATE OF NEW MEXICO STEPHEN T. PACHECO
COUNTY OF SANTA FE CLERK OF THE COURT
FIRST JUDICIAL DISTRICT COURT Tamara Snee
LAURENT DOCKERY and
ODILIA DOCKERY,
Plaintiffs,
¥. No. D-101-CV-2019-00208

ALLSTATE INSURANCE COMPANY,

Defendant.

 

Case assigned to Wilson, Matthew Justin

COMPLAINT FOR BAD FAITH, BREACH OF CONTRACT,

AND UNFAIR PRACTICES

COMES NOW the Plaintiffs, Laurent Dockery and Odilia Dockery, by and through their
Counsel of Record, Andrea D. Harris, Esq. and Richard J. Valle, Esq. (Carter & Valle Law Firm,
PC), and for their Complaint against the Defendant, Allstate Insurance Company, state as follows:

1. The Plaintiffs, Laurent Dockery and Odilia Dockery, are both residents of the City of
Los Lunas, Valencia County, State of New Mexico.

2. The Defendant, Allstate Insurance Company (‘Allstate’), upon information and
belief, is a foreign insurance corporation, organized and licensed to do business within the State
of New Mexico pursuant to the rules and regulations promulgated by the New Mexico
Superintendent of Insurance and other applicable New Mexico Statutes and case law. Asa foreign
insurer, Defendant may be found and served with process in the County of Santa Fe, State of New

Mexico, by service upon the New Mexico Superintendent of Insurance which is Allstate's

registered agent.

 
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3. Venue is proper in this Court due to the New Mexico Superintendent of Insurance as
the agent for service of process on Allstate.

4. This Complaint and the allegations contained herein arise from two motor vehicle
incidents, the first which occurred in the late hours of March 5, 2017, in the City of Albuquerque,
Bemalillo County, State of New Mexico, and the second which occurred in the early morning
hours of March 6, 2017 in the City of Los Lunas, Valencia County, State of New Mexico

5. At all times material hereto, Plaintiffs were covered by a policy of automobile
insurance issued to them by Allstate which provided them with coverage for damages suffered

through the acts or omissions of others.

6, Based upon the above paragraphs, this Court has jurisdiction of the parties and subject

matter herein.
FACTUAL BACKGROUND

7. Plaintiffs reassert all prior allegations as if set forth herein,

8. Plaintiffs are insureds on an Allstate-issued insurance policy covering a 2015 Dodge
Dart and a 2016 Volkswagen Passat, Policy No. 829505005 (hereinafter referred to as the “Allstate
Policy”), providing uninsured and under-insured motorists coverage (hereinafter referred to as
“UM/UIM”) during the time of the incidents at issue and at all times relevant to this Complaint.

9. The Allstate Policy provided UM/UIM property damage coverage with limits of
$50,000.00 per occurrence per vehicle, with 3 stacked vehicles on the policy for a total of
$150,000.00 in UM/UIM property damage coverage limits per occurrence.

10. Plaintiffs were covered under the Allstate Policy at atl times relevant to this

Complaint.

 
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11. On March 5, 2017, Plaintiff Laurent Dockery was the driver of the 2016 Volkswagen

Passat insured under the Allstate Policy.

12. Plaintiff Laurent Dockery drove to his destination and parked the vehicle ina parking
lot near 407 Central Avenue NW in Albuquerque, New Mexico,

13. Sometime between the approximate hours of 11:30 p.m. on March 5, 2017 and 1:45
a.m, on March 6, 2017, the 2016 Volkswagen Passat (hereinafter referred to as “Passat”) was stolen
from Plaintiff Laurent Dockery’s possession while it was parked in the parking lot.”

14. Plaintiff Odilia Dockery’s purse, with her car keys, cell phone, credit cards, driver’s
license and personal information, was located inside of the Passat when it was stolen.

1S, After the Passat was stolen, it was involved in a collision at the intersection of San
Mateo and Zuni SE in Albuquerque, New Mexico.

16. The thieves fled the scene of the collision and abandoned Plaintiffs’ Passat in the
intersection at San Mateo and Zuni from where it was eventually towed. |

17. Although the Plaintiffs’ Passat was recovered, it had sustained serious damage to the
interior and exterior of the vehicle. .

18. The identity of the thieves who stole the Passat is currently unknown.

19. The thieves stole Plaintiffs’ personal property inside the vehicle, including Plaintiff
Odilia Dockery’ s purse and car keys, and used Plaintiff Odilia Dockery’s debit card at a gas station.

20. Upon information and belief, after the thieves obtained the Plaintiffs’ residential
address and Plaintiff Odilia Dockery’s car keys, they located Ptaintiffs’ 2015 Dodge Dart

(hereinafter referred to as “Dart”) in Plaintiffs’ residential driveway.

 

 
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91. During the early morning hours of March 6, 2017, the Dart was stolen from Plaintiff

Odilia Dockery’s possession while it was parked outside Plaintiffs’ home in Los Lunas, New

Mexico.

32. ‘The identity of the thieves who stole the Dart is currently unknown.

23. The thieves later abandoned the Dart and it was recovered, but there was a significant
amount of damage to the interior and exterior of the vehicle.

24. Upon information and belief, the same individual(s) stole both vehicles from

Plaintiffs.

25. Plaintiffs reported all of these incidents to the Albuquerque Police Department and
the Los Lunas Police Department. |

26. The thieves’ actions in damaging the vehicle were willful, wanton and reckless.

27. The thieves are 100% responsible for the damage to Plaintiffs’ vehicles.

28. In accordance with New Mexico law and the terms of the insurance policy, Plaintiffs
have insurance coverage for the actions of the unknown tortfeasors.

29, The unknown tortfeasors are considered uninsured/underinsured motorists under
Plaintiffs’ insurance policy.

30. Thisisacase of clear liability against the uninsured tortfeasors, the unknown thieves.

31. The vehicles used by the thieves were “uninsured motor vehicles” as defined by New
Mexico law and contemplated by the Allstate policy of insurance, in that liability coverage was

not available to cover the thieves for the non-permitted use.

32, The identity of the thieves is unknown, and thus, the thieves were “uninsured

motorists” as defined by New Mexico law and contemplated by the Allstate policy of insurance.

 
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33. The law in New Mexico is clear that this incident is covered under Plaintiffs’
UM/UIM coverage since the thieves were not insured at the time of this collision, and all of
Plaintiffs’ damages were incurred as a result of the use and operatign of a motor vehicle.

34, Plaintiffs properly paid the premiums for this policy and the UM/UIM coverage was
validly in force.

35. Punitive damages are covered under Plaintiffs’ UM/UIM coverage.

36. Shortly after the incident, Plaintiffs notified Allstate of the thefts.

37, On March 8, 2017, Allstate acknowledged receipt of the theft claims.

38, OnJuly 5, 2017, Defendant Allstate initially responded and denied Plaintiffs’ claim
under their Allstate policy.

39. Plaintiffs then hired legal counsel.

40. After some negotiation, Defendant Allstate eventually provided insurance coverage

for Plaintiffs’ claims.

41. On March 29, 2018, Plaintiffs requested that Allstate open claims for the punitive

damages under their UM/UIM coverage.
42. Allstate acknowledged Plaintiffs’ claims for punitive damages on April 3, 2018, and

assigned claim numbers for the Plaintiffs’ claims on April 5, 2018.
43. Allstate also agreed to attend a mediation to try to resolve property and related claims.

44. A settlement agreement for all of Plaintiffs’ damages except punitive damages was

reached on April 17, 2018.

45. In the settlement agreement reached with Defendant Allstate, Defendant Allstate
allowed Plaintiffs to pursue their punitive damages claims separately and agreed to continue to

adjust those claims.

 
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46. Specifically, Allstate agreed to the following:

Expressly excluded from this release are Laurent Dockery and Odilia
Dockery's separate claims for punitive damages for each of the two
‘ncidents described above under the UMPD portion of their coverage.
Allstate aprees to continue to adjust Laurent Dockery’s and Odilia
Dockery's separate claims for the punitive dama es stemming from the
two incidents; Allstate Claim No. 0497264812 and Allstate Claim No.
0497266262. Further, excluded from the release would be any claims
handling irregularities/bad faith claims that may arise in connection with
Allstate's adjusting of Laurent Dockery’s and Odilia Dockery's separate

claims for punitive damages.

See April 17, 2018 Settlement Agreement (emphasis added), relevant excerpt attached hereto as
Exhibit 1.

47. Allstate paid $45,000.00 in compensatory damages for Plaintiffs’ claims.
48, With respect to the calculation of punitive damages, which Allstate agreed to

continue to adjust, Allstate made the following agreement:

Allstate takes no position on the amount assigned out of the settlement sum
as compensatory damages, other than to acknowledge that some portion is

for compensatory damages ag 8 basis for punitive damages.
Id. (emphasis added).

49, Atno point did Allstate deny Plaintiffs’ punitive damage claims.

50. Atno point did Allstate deny coverage for Plaintiffs’ punitive damage claims.

$1. If Allstate intended to deny Plaintiffs’ punitive damage claims, it had a duty to inform
Plaintiffs of this intention.

52. On May 2, 2018, a settlement demand package was sent to Allstate with supporting
documentation for Plaintiffs’ punitive damages claims.

53. Allstate had a deadline to respond by May 18, 2018, but failed to respond by that

deadline.

 
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54. On May 21, 2018, Plaintiffs sent a follow-up letter to Allstate asking for a status on
the demand.

55, Upon information and belief, at some point after Allstate received the supporting
documentation for Plaintiffs’ claims, Allstate sent the information to an attorney to deny the
claims, despite Allstate’s prior agreement to evaluate the claims and use the compensatory

damages paid as the basis for those claims.

56. On May 23, 2018, Plaintiffs’ counsel received a letter from Jennifer Noya, an attomney

hired by Allstate to deny Plaintiffs’ claims.

57, Ms. Noya, on behalf of Allstate, represented in her letter that Plaintiffs’ did not have

a valid uninsured motorist property damage claim.

58. This representation was contrary to Allstate’s agreement that it had previously made
with Plaintiffs.

59. Ms. Noya, on behalf of Allstate, also asserted that punitive damages were not
warranted “where the damage was caused by an unknown person” and denied Plaintiffs’ claims.

60. Ms. Noya represented that further communications or information which Allstate
should review in this matter should be presented to her for review.

61. Ms. Noya acted as a representative for Allstate in denying Plaintiffs’ claims.

62, Ms. Noya was advised of Allstate’s prior agreement,

63. Allstate did not change its decision.

64. The denial of Plaintiffs’ claims for punitive damages is in breach of Allstate’s prior
agreement to continue adjusting the punitive damage claims and the agreement to use a portion of

the prior settlement as the compensatory damage measurement in the computation of punitive

damages.

 
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65. The denial of Plaintiffs’ claims for punitive damages is in clear breach of established
New Mexico law.

66. Plaintiffs’ responded to Allstate’s denial, undertaken by Ms. Noya, on May 30, 2018.

67. Plaintiffs’ response informed Ms. Noya of the inconsistencies in Allstate’s recent
denial compared to its previous agreement to adjust the claims and evaluate them using the agreed-
upon compensatory damages, as well as the New Mexico law establishing the validity of Plaintiffs’
claims.

68. Allstate failed to respond to Plaintiffs’ May 30, 2018 letter.

69. Plaintiffs’ sent an additional follow-up on June 13, 2018.

70. Ms. Noya, on behalf of Allstate, acknowledged receipt of the June 13, 2018 letter and
stated she would “be in touch.”

71. No response was received from Allstate or Ms. Noya.

72. Plaintiffs sent an additional follow-up on July 31, 2018 to Allstate, through Ms. Noya.

73. No response was ever received from Allstate or Ms. Noys to Plaintiff's July 31, 2018.

74. As of the date of the filing of this Complaint, Allstate has failed to respond to its
insureds’ requests and communications.

75. Allstate, through Jennifer Noya and its adjusters, did not balance its insureds’ interest
with its own interests.

76. Allstate ratified the decisions of Ms. Noya and continues to send her work,

77. in making its agreement with Plaintiffs, Allstate failed to disclose that it intended to

deny Plaintiffs’ claims for punitive damages.

 
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78. Despite Allstate’s change in position and denial once it hired Jennifer Noya, the

conduct of the thieves in this matter was malicious, willful, reckless, and wanton entitling Plaintiffs

to recover punitive damages.

79. Defendant Allstate has not requested any further information from Plaintiffs.

80. Upon information and belief, Defendant Allstate has completed its evaluation of
Plaintiffs’ claims.

81. Defendant Allstate refused to pay its insureds damages to which they are entitled to
recover against the uninsured motorist on grounds that are baseless and not supported by New
Mexico law.

82. Defendant Allstate forced its insureds into litigation to resolve their claims.

83. Defendant Allstate did not provide Plaintiffs with the claims handling to which they
are entitled and specifically agreed 10 provide.

84. Plaintiffs suffered damages in an amount to be determined at trial, which include, but
are not limited to: punitive damages, extent and duration of injuries; past, present and future pain
and suffering; loss of enjoyment of life; mental anguish; attorneys’ fees and costs; and other claims

for legal damages which may exist pursuant to New Mexico law.

COUNT I; BREACH OF CONTRACT

85. Plaintiffs incorporate by reference ali prior allegations as if set forth fully herein.

86. Atall times material hereto, Plaintiffs were covered by the Allstate Policy previously
identified that provided coverage for injuries and damages suffered through the acts or omissions
of underinsured/uninsured motorists.

87. Plaintiffs’ coverage under the Allstate Policy afforded coverage for punitive

damages.

 
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88. Allstate also entered into a separate agreement as stated herein concerning punitive

damages for the actions of the tortfeasor.

89. Allstate's acts and failures to act, as enumerated above, constitute a willful breach of

its contracts with Plaintiffs.

90. Allstate initially afforded coverage to Plaintiffs’ and represented that it would

continue to adjust Plaintiffs’ claims for punitive damages.

9}. Allstate, without a valid basis, then changed its position and denied Plaintiffs’ claims
contrary to New Mexico law and their agreement.

92. " Allstate delayed its handling of Plaintiffs’ claims.

93, Allstate failed to adequately investigate and evaluate Plaintiffs’ claims.

94. Allstate failed to respond to communications from its insureds.

95, Plaintiffs performed all conditions precedent to their contract with Allstate.

96. Allstate forced its insureds into litigation.

97, Allstate’s acts and failures to act, as enumerated above, constitute an unreasonable
failure to pay a first party coverage claim, entitling Plaintiffs to an award of reasonable attorney's
fees and costs pursuant to NMSA 1978, §39-2-1.

98. Asa direct and proximate result of the breach of the contract by Defendant, Plaintiffs
have suffered monetary damages necessary to restore to them that which was lost by Defendant's
breach, including but not limited to incidental damages, consequential damages and reliance
damages, attorney's fees and costs and any other damages in an amount to be determined at trial.

99, Allstate did not provide Plaintiffs with the claims handling to which they are entitled.

100. Defendant’s acts and failures to act, as enumerated above, constitute a willful breach

of its contracts with Plaintiffs.

10

 
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101. Defendant’s actions were reckless, wanton, oppressive, in bad faith and/or
fraudulent, entitling Plaintiffs to recover punitive damages in an amount to be determined at trial.
102. As adirect result of the breach of the contracts by Allstate, Plaintiffs have suffered

damages in an amount to be determined at trial.
COUNT I: CONTRACTUAL BENEFITS

103. Plaintiffs incorporate by reference all prior allegations as if set forth herein in full.

104. The tortfeasor(s) in this matter, the thief or thieves which stole Plaintiffs’ vehicles,
are unknown and therefore do not have any insurance to pay for Plaintiffs’ claims for punitive
damages.

105. Each tortfeasor was an uninsured motorist under New Mexico law.

106. The Allstate Policy provided UM/UIM coverage with limits of $50,000.00 per
occurrence per vehicle, with 3 stacked vehicles on the policy for a total of $150,000.00 in UM/ UIM
property damage coverage limits per occurrence,

107. Plaintiffs’ damages happened during the operation of a motor vehicle.

108. Pursuant to its contract of insurance, Allstate owes Plaintiffs the UM/UIM insurance
benefits under their policy.

109. Plaintiffs have cooperated with every request by Allstate concerning the claim for

contractual benefits.

110. Ptaintiffs have complied with all conditions precedent to their claims for contractual

benefits with Allstate.

1]

 
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COUNT II: DECLARATORY ACTION FOR
UNITIVE DAMAGES AND STACKED COVERAGE

P

Ll. Plaintiffs incorporate by reference all prior allegations as if set forth herein in full.

112. Pursuant to its contract of insurance, Allstate owes Plaintiffs the uninsured motorists’
insurance benefits under the policy.

i113. The tortfeasor(s) in this matter, the thief or thieves which stole Plaintiffs’ vehicles,
are unknown and therefore do not have any insurance to pay for Plaintiffs’ claims for punitive
damages.

114. The conduct of the thieves, including stealing Plaintiffs’ vehicles and property, in this
matter was malicious, willful, reckless, and wanton.

115. Plaintiffs are entitled to recover punitive damages for the tortfeasor(s} conduct.

116. Plaintiffs have cooperated with every request by Allstate concerning the claim for
contractual benefits.

117. Plaintiffs have complied with all conditions precedent to their claim for uninsured

motorists’ benefits with Allstate.

118. The issues of this lawsuit meet the requirements for which declaratory relief is

appropriate, pursuant to NMSA 44-6-1, et. seq.

119. Plaintiffs ask that this Court declare that Plaintiffs are entitled to recover insurance
benefits for punitive damages under the UM/UIM coverage provided in the Allstate Policy.

120. Plaintiffs also ask that this Court declare that Plaintiffs are entitled to stack UM/UIM

property insurance benefits under the UM/UIM coverage provided in the Allstate Policy.

|2

 
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COUNT IV: UNFAIR INSURANCE CLAIM PRACTICES

121. Plaintiffs incorporate by reference all prior allegations as if set forth herein in full.
122, There was in effect at all times material a state statute commonly known in the New
Mexico Insurance Code as the Trade Practices and Frauds Act (“TPFA”), NMSA 1978, Sections

59A-16-1 through -30, including but not limited to NMSA 1978, Section 59A-16-20, which

prohibits the following unfair claims practices:

A. misrepresenting to insureds pertinent facts or policy provisions relating to
coverages at issue;

B. failing to acknowledge and act reasonably promptly upon communication with
respect to claims from insureds arising under policies;

C. failing to adopt and implement reasonable standards for the prompt investigation
and processing of insured’s claims arising under policies;

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E. not attempting in good faith to effectuate prompt, fair and equitable settlements
of an insured’s claims in which liability has become reasonably clear;

wubhee nanos

G. compelling insureds to institute litigation to recover amounts due under policy
by offering substantially less than the amounts ultimately recovered in actions
brought by such insureds when such have made claims for amounts reasonably

similar to amounts ultimately recovered;

N. failing to promptly provide an insured a reasonable explanation of the basis
relied on in the policy in relation to the facts or applicable law for denial ofaclaim
or for the offer of a compromise settlement. ..

123. The actions of Allstate, as set forth above, constitute unfair insurance claims
practices, knowingly committed or performed with such frequency as to indicate a general business
practice prohibited by Section 59A-16-20, including but not limited to subsections (A), (B), (C),
(£), (G), and (N).

13

 
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124. Allstate, as set forth above, knowingly and willfully, or with such frequency as to
indicate its general business practice in this State, engaged in unfair insurance claims practices
prohibited by NMSA 1978, Section S9A-5-26(C)(2)(a) and (b), where Defendant:

a. has without just cause failed to pay, or delayed payment of, claims arising under

its policies, whether the claim is in favor of an insured or in favor of a third person

with respect to the liability of an insured to such third person; or

b. without just cause compels insureds or claimants to accept less than amount due

them or to employ attomey or to bring suit against the insurer or such an insured to

secure full payment or settlement of a claim.

125, As a direct and proximate result of the unfair‘claims practices of Allstate, Plaintiffs
have suffered damages in a monetary amount to be determined at trial.

126. Plaintiffs are also entitled to an award of attorney fees and costs under the statute.

COUNT V: UNFAIR TRADE PRACTICE

127, Plaintiffs incorporate by reference all prior allegations as if set forth herein in full.

128. The acts and failures to act by Allstate, as enumerated above, constitute unfair and
deceptive trade practices and unconscionable trade practices which are illegal and prohibited
pursuant to the New Mexico Unfair Trade Practices Act, NMSA 1978, §§57-12-1.

‘199. As a direct result of Allstate’s unfair and deceptive trade practices and
unconscionable trade practices, Plaintiffs have suffered damages in a monetary amount to be
determined at trial,

130. In handling Plaintiffs' claims, Allstate treated Plaintiffs much the same as it treated
all other Allstate insureds making injury claims.

131. Plaintiffs are entitled to attorney fees, statutory and treble damages for violations of

the Unfair Trade Practices Act.

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132. The acts and failures to act by Allstate were malicious, willful, reckless, wanton,
oppressive, in bad faith and/or fraudulent, entitling Plaintiffs to recover punitive damages in an

amount to be determined at trial.

COUNT Vi: BREACH OF
MPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

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133. Plaintiffs incorporate by reference all prior allegations as if set forth herein in full.

{34. In issuing insurance policies to Plaintiffs and adjusting claims, Defendant Allstate
has a duty to act in good faith and to treat its policyholders in a fair manner, to hold its insureds’
interests equally te that of its own, and to act honestly, both in fact and in law, in these dealings.

135. Allstate’s additional agreement imposes on Allstate a duty to act in good faith and to
treat its policyholders in a fair manner, to hold its insureds’ interests equally to that of its own, and
to act honestly, both in fact and in law, in these dealings.

136. In undertaking the wrongful acts described herein, Defendant Allstate breached its
duty of good faith and fair dealing, causing damage to Plaintiffs in an amount to be proven at trial,
and warranting the imposition of punitive damages as permitted by law.

COUNT V: INSURANCE BAD FAITH
137. Plaintiffs incorporate by reference all prior allegations as if set forth herein in full.
138. There is implied in every insurance policy a duty on the part of the insurance company

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to deal fairly with the policy holder.

139. Fair dealing means to act honestly and in good faith in the performance of the

contract.

140. The insurance company must give equal consideration to its own interests and the

interests of the policy holder.

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141. An insurance company and its employees act in bad faith when they refuse to pay a
claim of the policyholder for reasons which are frivolous or unfounded.
142. In deciding whether to pay a claim, the insurance company and its employees must

act reasonably under the circumstances to conduct a timely and fair investigation and evaluation

of the claim.

143. An insurer and its employees and agents may not unreasonably delay notification to
the policyholder that the claim will be paid or denied.

144. A failure to timely investigate, evaluate, and/or pay a claim is a bad faith breach of
the duty to act honestly and in good faith in the performance of the insurance contract.

145. An insurer and its employees and agents may not ignore or refuse to respond to

correspondence from its policy holder.

146. The acts and failures to act of Defendant as enumerated above constitutes a breach of

their duty of good faith to Plaintiffs.
147. Asadirect result of the bad faith of Defendant, Plaintiffs have suffered compensatory

damages, incidental damages and consequential damages in a monetary amount to be determined

at trial.

148. The acts and failures to act of Defendant as enumerated above, constitutes an
unreasonable failure to pay a first party coverage claim, entitling Plaintiffs to an award of

reasonable attomey fees and costs pursuant to NMSA 1978, §39-2-1.

149. The actions of Defendant were malicious, willful, reckless, wanton, oppressive, in
bad faith and/or fraudulent, entitling Plaintiffs to recover punitive damages in an amount to be

determined.

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WHEREFORE, Plaintiffs request this Court enter judgment against Defendant Allstate
determining the amount of damages which Plaintiffs are owed pursuant to the contract of
insurance; order Defendant Allstate to pay that amount; award all damages associated with
Allstate's misconduct as stated herein (including punitive damages for Allstate’s breach of its
agreement and tortious misconduct); an early mediation at Allstate’s expense as set forth in NMSA
1978 §57-12-] ef seq.; attomey’s fees, costs, and pre-judgment and post-judgment interest as

provided by law; and for such other and further relief as the Court deems just and proper.

Respectfully submitted,

CARTER & VALLE LAW FIRM, PC

‘sf Andrea D. Harris O1/29/2019
Andrea D. Harris, Esq.

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(505) 883-5613 Facsimile

adh@carterlawfirm.com
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AGREEMENT

In consideration of the payment to Odilia Niffo and Laurent Dockery the sum of
FORTY-FIVE THOUSAND DOLLARS AND NO/100 ($45,000.00) and the agreements
set forth herein, and Odilia Nifio and Laurent Dockery being of lawful age, it is agreed as
follows: In exchange for the payment of the $45,000.00, Laurent Dockery and Odilia Nifio
will release Alistate from all alleged prior bad faith/extracontractual claims, claims for
property damages, loss of use, diminished value, and any other such claims connected
to the loss or damage to the described vehicles, including attomey fees. Allstate
previously paid for the value of the Passat as atotal loss. The Dartis currently undergoing

repairs, and Allstate agrees to complete all related repairs to the Dart.
Expressly excluded from this release are Laurent Dockery and Odilia Nifio’s

separate claims for punitive damages for each of the twa incldents described above under
the UMPD portion of their coverage. Allstate agrees to continue to adjust Laurent
Dockery's and Odilia Nifio's separate claims for the punitive damages stemming from the
two incidents; Allstate Claim No, 0497264812 and Ailstate Claim No. 0497266262
Further, excluded from the release would be any claims handling irregularities/bad faith
claims that may arise in connection with Allstate's adjusting of Laurent Dockery's and

Odilla Nifio's separate clalms for punitive damages.

It is also understood and agreed by Odilia Nifio and Laurent Dockery that this
release includes and discharges any claim cf statutory violation or tortious misconduct or
any other claim which arise directly or indirectly from the canduct of Allstate in responding
to the claims, such as unfair insurance practices, unfair trade practices, bad faith,

intentional or negligent infliction of emotional distress, outrage, intentional or Interference

Odilia Nito and Laurent Dockery Page 2 of 5

 

 
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with prospective economic advantage, fraud, misrepresentation and spofiation of
evidence related to the two incidents, except as noted above relating to Laurent Dockery's
and Odilla Nifio's separate claims for punitive damages.
COMPROMISE OF DISPUTED CLAIMS

It is understood and agreed by the parties that this is a compromise settlement of
disputed claims, Including, among others, the obligations or the parties with respect to all
present and future obligations, and the performance of the above obligations do not
constitute an admission of any liability or the existence of any obligation of any kind
whatsoever by any party. Allstate takes no position on the amount assigned out of the
settlement sum as compensatory damages, other than to acknowledge that some portion
is for compensatory damages as a basis for punitive damages.

SUCCESSORS AND ASSIGNS

It is understood and agreed by each party that the agreements, undertakings, acts

and other things done to or to be done by Odilia Nifio and Laurent Dockery or thelr

attorneys in this Agreement shail run to and be binding upon their heirs, successors,

executors, administrators and a’signs.

ENTIRE AGREEMENT

All agreements, covenants, representations and warranties, expressed and
implied, oral and written, of the parties to this Agreement concerning its subject matter
are contained herein. No other agreements, covenants, representations or warranties,
expressed or implied, orai or written, have been made by any party to any other party

concerning the subject matter or this Agreement. All prior and contemporaneous

Odllia Nifo and Laurent Dockery Page 3 of 5

 
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STATE OF NEW MEXICO
COUNTY OF SANTA FE
FIRST JUDICIAL DISTRICT COURT

LAURENT DOCKERY and
ODILIA DOCKERY,

Plaintiffs,

v. No. D-101-CV-2019-00208

ALLSTATE INSURANCE COMPANY,

Defendant.

PLAINTIFF'S FIRST SET OF INTERROGATORIES, REQUESTS FOR
PRODUCTION AND REQUESTS FOR ADMISSION

TO DEFENDANT ALLSTATE INSURANCE COMPANY
You are hereby requested to answer the following Interrogatories, Requests for Admission
and Requests for Production, separately and fully in writing and under oath, and to produce the
documents requested at the law offices of Carter & Vaile Law Firm, PC within forty-five (45) days
following the service of these Interrogatories, Requests for Admission, and Requests for
Production, pursuant to the applicable Rules of Civil Procedure for the State of New Mexico.
To the extent that the term “you” is used in these discovery requests, it refers to Defendant

Allstate Insurance Company, including any of its agents, adjusters, employees, or contractors.

 
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INTERROGATORIES
INTERROGATORY NO. 1: Please identify each and every person (by name, address
and title) providing information used to answer these interrogatories, the interrogatory for which
they provided information, as well as the full name, address, and title of the person verifying these
interrogatories, as well as the number of years that the person verifying these interrogatories has
worked for the company.

ANSWER:

INTERROGATORY NO. 2: Please state all facts and identify all documents upon which
you are relying in support of any of your defenses to this claim. Also identify each and every
individual or document whose testimony or contents you are relying upon to support your defenses
or to impeach plaintiff.

ANSWER:

INTERROGATORY NO. 3: Please identify all of the New Mexico UM/UIM claims, for
bodily injury or property damages, involving an unknown tortfeasor in which Allstate paid punitive
damages from January 1, 2014 to present date.

ANSWER:

 
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INTERROGATORY NO. 4: Please identify all steps taken to evaluate Plaintiffs’ claims
for punitive damages from April 17, 2018 until the filing of the Complaint in this matter on January
29, 2019,

ANSWER:

INTERROGATORY NO. 5: State the names, addresses, phone numbers, official titles, if
any, and other identification of ali expert witnesses wha may be called upon to testify on your behalf
in this action, followed by a brief description of the nature and substance of the expert's testimony as
well as their qualifications to provide such testimony.

ANSWER:

INTERROGATORY NO. 6: Please identify all adjusters who were assigned to the
handling of Plaintiffs’ claims for punitive damages and identify each person’s direct supervisor,
manager, and any other person who had any influence over authority given for the value of

Plaintiffs’ claim.

ANSWER:

 

 
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INTERROGATORY NO. 7: State whether or not you, or any other person on your behalf,
has interviewed any persons having or purporting to have knowledge or information pertaining to the
incident giving rise to Plaintiffs’ claims for punitive damages, and if so, identify and describe the
contents of each such statement, indicating the name, address and phone number of the person so
interviewed, if there is a recorded statement or notes relating to that interview, when, where and by
whom any person was interviewed and the name, address and phone number of the person, firm or
organization now having possession or custody of each such statement.

ANSWER:

INTERROGATORY NO. 8: Please state the reason for State Farm's denial of punitive

damages in this matter.

ANSWER:

INTERROGATORY NO. 9: State the names, addresses, phone numbers, offtcial titles, if
any, and other identification of all witnesses who may be called upon to testify on your behalf in this
action, followed by a brief description of the nature and substance of the testimony which it is

expected will be given by each witness.

ANSWER:

 
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INTERROGATORY NO. 10: State separately and identify by date and contents each

 

document which it is contemplated will or may be offered as an exhibit at the time of tral in support

of your claim in this action.

ANSWER:

INTERROGATORY NO. 11: Please identify any and all codes Allstate uses to code
payments made under New Mexico claims within any claims system Allstate uses and identify the
name of the claims system that Allstate uses to evaluate New Mexico claims.

ANSWER:

INTERROGATORY NO. 12: To the extent your answers to the Requests for Admission
are anything other than an unqualified admission, please set forth in full the factual and iegal basis for
your denial(s).

ANSWER:

 
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INTERROGATORY NO, 13: Please state the amount you have set for the reserve in this

case, and identify all past reserves amounts for Plaintiffs’ claims for punitive damages and the dates

those reserves were changed.

ANSWER:

INTERROGATORY NO, 14: For the time period from January 1, 2014 to the present,
identify any standards, policies, procedures, guidelines or directives you have conceming the
following topics:

. 1) the adjustment and evaluation of UM/UIM claims in New Mexico;

2} unknown tortfeasors in UM/UIM claims;

3) stacking of UM/UIM coverage in New Mexico;

4) the evaluation, payment, and denial of punitive damages under UM/UIM coverage; and

5) communicating with an Allstate insured, including the timeliness of any response to an

insured’s request.

ANSWER:

INTERROGATORY NO. 15: Identify any reductions in claims payments or other
goals, targets, or expectations Allstate has concerning the payment of claims, Limit your answer
to the Region including New Mexico for the time period from January 1, 2014 to the present.

ANSWER:

 
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INTERROGATORY NO. 16: If you contend that Plaintiffs are not entitled to the
stacking of their Uninsured Motorist Property Damage coverage, please state the reasons why.

ANSWER:

INTERROGATORY NO. 17; Please identify all of the New Mexico UM/UIM
claims in which Allstate stacked UM/UIM Property Damage coverage for its insured from January |,
2014 to present date.

ANSWER:

INTERROGATORY NO. IB: Please identify all of the New Mexico UM/UIM
claims in which Allstate payed policy limits for its insured under UM/UIM Property Damage but
declined to stack UM/UIM Property Damage coverages for its insured from January 1, 2014 to present
date.

ANSWER:

 
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REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION 1: Please admit that Laurent Dockery and Odilia

Dockery (formerly known as Odilia Nifio) were Allstate insureds on March 9, 2017 and March 6,
2017 with Policy No. 829505005 (hereinafter referred to as “Allstate Policy”).

Admit Deny

REQUEST FOR ADMISSION 2: Please admit that Plaintiffs had UM/UIM coverage
under the Allstate Policy at the time of this collision.

Admit Deny

REQUEST FOR ADMISSION 3: Please admit that Plaintiffs UM/UIM coverage for

‘

Property Damage in the amount of $150,000.00 each accident at the time of this collision.

Admit Deny

REQUEST FOR ADMISSION 4: Please admit that Allstate had completed its

investigation of Plaintiffs’ claims for damages related to the theft of their vehicles by April 17,
2018 when it attended a mediation of Plaintiffs’ underlying claims.

Admit Deny

 

 
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REQUEST FOR ADMISSION 5: Please admit that Allstate had completed its

evaluation of Plaintiffs’ claims for damages related to the theft of their vehicles by April 17, 2018
when it attended a mediation of Plaintiffs’ underlying claims.

Admit Deny

REQUEST FOR ADMISSION 6: Please admit that Laurent Dockery did not sign any
rejection of UM/UIM stacking under the Allstate Policy.

Admit Deny

REQUEST FOR ADMISSION 7: Please admit that Odilia Dockery did not sign any
rejection of UM/UIM stacking under the Allstate Policy.

Admit Deny

REQUEST FOR ADMISSION 8: Please admit that punitive damages are covered
under Plaintiffs’ UM/UIM coverage.

Admit Deny

 
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REQUEST FOR ADMISSION 9: Please admit that Allstate agreed to use a portion of

the $45,000.00 settlement with Plaintiffs in its calculation of punitive damages for each of

Plaintiffs’ claims.

Admit Deny

REQUEST FOR ADMISSION 10: Please admit that the enclosed Certified Copy of the
Allstate Policy, attached as Bates No. DOCKERY00001 - DOCKERY00015, is a true and correct

copy of the coverages in effect for Plaintiffs’ during March, 2017.

Admit Deny

REQUEST FOR ADMISSION il: Please admit that the enclosed Settlement
Agreement, attached as Bates No. DOCKERY00016 - DOCKERY00020, is a true and correct

copy of the Settlement Agreement between Plaintiffs and Allstate made at the mediation in April,

2018.

Admit Deny

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REQUESTS FOR PRODUCTION
REQUEST.NO. 1: Please produce the originals, or true, correct and legible copies of
any photographs, videos, statements of witnesses, investigative reports, memoranda, or other
documents, which relate to the incident or damages at issue.

RESPONSE:

REQUEST NO, 2: Please produce any and all standards, policies, procedures,

guidelines, memorandum, or directives you have concerning the following topics, for the time

period from January 1, 2014 to the present:

1) the adjustment and evaluation of UM/UIM claims in New Mexico,
2) unknown tortfeasors in UM/UIM claims;

3) stacking of UM/UIM coverage in New Mexico;

4) the evaluation, payment, and denial of punitive damages under UM/UIM coverage; and
5) communicating with an Allstate insured, including the timeliness of any response to an

insured’s request.

RESPONSE:

REQUEST NO.3: Please produce all documents, written, electronic, video or

otherwise used from 2014 to the present to train any adjusters handiing New Mexico claims

conceming punitive damages.

RESPONSE:

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REQUEST NO. 4; Please produce the originals, or true, correct and legible copies of
each and every item which you may or will introduce as an exhibit at the trial of this matter. Please
separately identify which documents may be introduced and which will be introduced.

RESPONSE:

 

REQUEST NO.5: Please produce a copy of every claims file (agent, station, New
Mexico, District, Branch Claims file, Regional Claims File and Home Office Claims file), whether
in written or electronic form concerning or relating to the claims that are the subject of this suit,
including any claims notes system, claims evaluation system, event or document log, or other
document details actions, investigations or evaluations within Plaintiffs’ claims.

RESPONSE:

REQUEST NO. 6: Please produce copies of ali documents referred to or relied upon by
you in answering the Interrogatories issued to you with these Requests.

RESPONSE:

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REQUEST.NO.7: Please produce copies of any reports or other documentation
prepared by, received from, submitted to, or in any way related with each of your expert's
testimony. This request includes, but is not limited to, any notes, reports, summaries, literature, or
exhibits provided to, or received, from any such expert witness.

RESPONSE:

REQUEST NO. 8: Please produce any electronic data, e-mail, or other document which

Allstate has in its possession that analyzes or evaluates any possible damages, punitive or otherwise,

under Plaintiffs’ UM/UIM claims.

RESPONSE:

REQUEST NO, 9: Please produce a copy of any memos, letters, notes, e-mails, audits,
reviews or other documents concerning, written by, or received from any employee of Allstate
from March 5, 2017 to Present concerning Plaintiffs in this matter.

RESPONSE:

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Respectfully submitted,
CARTER & VALLE LAW FIRM, PC

/s/_ Andrea D. Harris

Andrea D. Harris, Esa.
Richard J. Valle, Esq.
Attorneys for Plaintiffs

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Albuquerque, NM 87110
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(505) 883-5613 Facsimile

adh@carterlawfirm.com
rv@carterlawfirm.com

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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 40 of 59

@Aik listate.

 

You're in good hands,
Clalin# 0448230433
To Whom It May Concern:
l, Olivia Leach , amployee.of Allstate Insurance Cornpany Irving, Texas,

 

do certify that the enclosed is a copy of policy and or declaration page for the above
claim number, showing the coverages that were on the policy at the time of loss

of 03/06/2017 . The enclosed copy of policy and or declaration

 

page was printed and mailed through Alistate’s Output Processing Canter. ,

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Claim Support

State of Texas, County of Dallas
On this 1s day of November 2017, before. me personally

appearad LL; YL Lf Li to me known to be the parson who executed the

foregaing instrument and acknowledged that he/she exeéculed the same as a free act

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@ Allstate.

You're in good hands.

Information as ef January 30, 2017

Boo Foca Agency Policyhalder{s} ‘Page Tof2
Pendant Laurent Dackery and Odilia Nino
Policy qumbe
' &29 S05 OG5)
Your Allstate agency is
Bon Baca Agency
505) 820-1442
Dyfeg flap h DELI gh ALINE gg peggy la lag Eg AE TLEY Tp elgg aA CA@ullstate.com
LAURENT DOCKERY

AND OOILIA NINO
7OO RAIN LILY ROSW
LOS LUNAS NM 87031-6581

We're confirming your policy change
Allstate to help protect what's important to you. I've enclosed documents that confirm

Thank you for choosing
requested, You'll find your coverage details Isted on the enclased amended policy

the policy change(s} you
declarations. —, .

The following change(s) are effective as of 01/31/2017:

A change In insurance coverage. :
Your premium for the current policy period has been ine
policy period are: $1,141.08.

How to contact us
Give me a call at (505) 820-1442 if you have any quastions. It's my pleasureto keep you in good hands,

reased by a total of $11.40. Your discount savings for this

Sincerely, 4 .

Bon Baca Agency —
: Yaur.Allstate Agent : . ‘
ry, “ EAT20-1

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Policy number: 825 505 005 Page 2of2

Policy effective dates © September 7, 2016

Your Insurance Coverage Checklist
We're happy to have you as an Allstate customer! This checklist outlines what's In this package and provides answers to some
basic questions, as well as any “next steps” you may need ta take.

(What's In this package? C) What about my bili?
See the guide below for the dacuments thet are included. Unless you've already pald your premium in full, we'll send

Next steps: review your Policy Declorations to confirm you your bill separately, Next steps? please pay the minimum

have the coverages, coverage [mits, premiums and amount by the due date listed on it.
savings that you requested and expected, Read any You can algo pay your bill online at allstate.com or by
Endorsements ot important Notices to learn about new calling 1-BO0-AULSTATE (1-800-255-7828), Para
palicy changes, topics of special interest, as well as espanol, lamar al 1-800-979-4285. [f you're esrolled In
required communications, Keep all of these documents the Allstate® Easy Pay Plan, we'll send you a statement
with your other important insurance papers. detailing your payment withdrawal schedule.

[1 Am-l getting all the discounts I should? : C) What If? have questions?
Confirm with your Allstate Agent that you're benefiting You can either contact your Allstate Agent or call us 24/7
from ail the discounts you're eligible ta raceive. at 1-B00-ALLSTATE (1-800-255-7828) - para espafiol,

tlamar al 1-800-979-4295 - with questions about your
coverage, of to update your coverages, limits, or
deductibles, Or visit us online’at allatate.com.

 

 

 

 

 

   

 

 

 

 

 

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* To make it easier to see where you ray have gaps in your protection, we've ve Hlahshted any coveroges you do not have in the
Coverage Detail section in the enclosed Policy Decfarations. . af
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Thank you for choosing Allstate

Proof of Insurance Card

@) Allstate.

You're In good hands.

For your convenience, two Insurance cards have been Included for each vehlele, State law requires that one
of these cards be kept In each vehicle. Please place them in your vehicles by the effective date.

 

Allstate.

Youre in gasid harids,

Please use the printed Insurance Cords below.

Allstate.

Youn in god bands.

Pleose use the printed Insurance Cards below.

 

 

 

New Mexico New Mexico
Proof of Insurance Card Altstat ©. | Proof of insurance Card Allstate.
Allstate Fire and Casualty Insurance Company Allstate Fire and Casualty surance Company
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a , laurent Dockery .
and Oditla Nino" and Odi Hino
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and Odilfs Nine an and Odifiz Nino
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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 46 of 59

Policy number: 829 505 005 Page 2 of 2
Policy effectivedate: September 7, 2016

 

Please use the printed Insurance Cards below.

Please use the printed Insurance Cords below.

 

Hf you have an accident or loss: °

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« Notify tha police immadlately.

+ Obtsin names, addresses, phone nuetbars (work & home) and
Erense plate sumbers of ai] parsons inmnived, including
passengers and witnesses,

© Call HEDO-ALLSTATE (1-800-255-7820),
.— fogun ts allstate.corn or contact your Allstate agent

IF you fave an aceident er loss:

cine ~-t- Get medical attention if ceeded.

. ® Noby he polica lmmedistefy.

» Obtain names, sddresses, numbers (vrark & home) and
Vcense plate rumbers ct persons involved, Incioding
passengers and witnesses,

+ Call EO 0-ALLSTATE (1-800-255-7828).
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Bara Agency Ban Bara
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3404 Laferane At 3434 ahano A
Santa Fe, Nit B7S07 Santa Fe, NEA 87507

 

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H you have an accident or loss:

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fieense plate numbers of al persons involved. ficerse ptate curbers of 2 persons tevolved, including
passengers end witnesses. passengers ad witnesses,
» Call HAOG- ALLSTATE (800-255-7828), ® Call -E00-ALLSTATE (F300-255-7828),
logon to alistate.com or condact your Allstate agent toguc to allstatecom ar contzet your Allstate apent
a8 Soup 25 possible. 34 Sonn a3 possinie,
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If you have an accident or loss:
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de (work & home) end + Obtain names, addrsees, phe muntbers (oni & iene) and
"ame pus nko fe peo brvetved, Iedoding . Bence plate numbers of 2 including
passengers and witnesses, pastengers and witnesses.
« Call KOOO-ALLSTATE (1-800-255-7820), « Call FEOD-ALLSTATE 0-800-255-7828),
COE Ee ery aia get . began te allsate,com ar contact your Allatata agent
as saonas-potsthle, mses
Bon ace Agency
(505) 820-1442 abroad
3454 Talarano At Zafran Al
Santa Fe, NM B70? . Santa Fe RM E77

 

 

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Amended auto policy declarations OO cS) Oo

Phi: Geld Siendad

Your policy elective date is September 7, 2016

Total Premium for the Policy Period
Please review your insured vehicles and verlfy their VINs are correct.

 

Vehjeles covere identification Numb Prem

2016 Volkswagen Passat TVWAS7A34GC019205 $732.94
2000 Chrysler Town-Count 1C4GP44G8V8603593 192.52
2015 Dodge Dart 1C3COFBE4FD187400 631.71

 

 

* Your bi will be mailed sd separately. Before n ranking 2 a paymen t please refer to your
Jotest BIL, which Includes payment options end installment fee information. Ifyou de
not pay fn full, you wif be charged an installment fea(s).

Your premium includes all diseaunts required by New Mexico law,
See the Important payment and coverage information section for details about

installment fees.

  

$1,557.17

 

 

 

 

 

 

 

 

Discounts (included In.your total premiurn)
Sate Driving Club® $381.11 Multiple Policy $34.28
Responsible Payer $120.69 Future Effective $155.20
Date
FullPay® $118.61 Allstate Aute/Life $57.25
Allstate eSmart? $118.00 Anti-theft $33,76
New Car $54,392 Electronic Stability $67.92
Cantrol
Total discounts $1, 141. 08
(Pong, discounts ae ""g985.14)
Safe Driving Club® $381 H To . Fe
Multiple Policy $34. 28 Allstate Auto/Life $57.25
Responsible Payer $120. 69 Allstate eSmart® $718.00 .
Future Effective $155.20 . i
Date
(2016. Volkswagen Passat discounts: ("7 Str ne "$104.25 )
Anti-theft _ $16.20- . New Cer $54.32
Electronic Stability $33.73
Contrst a
(2015 Dodge Dartdiscounts tf yy I $569)

 

Anti-théft $17.50

“~Fiectronic Stability ais
Control

@ Allstate.

You're in géod hands,

Page lofé
information as of January 30, 2017

Summary

Named lnsured(s}

Laurent Dockery and Odilia Nino
Mailing address

700 Rain Lily Rd SW
Les Lunas NM 87031-6581

¢ Policy number
829 505 005,

Your policy provided by

Allstate Fire and Casualty Insurance
Company

Policy period

Beginning September 7, 2016 through
March 7, 2017 at 12:01 awn. standard
time

Your policy changes are effective
January 21, 2017

Your Alistate agency is

Bon Baca Agency

3454 Zafarano A-1

Santa Fe NM 87507

(505) 820-1442 . |
BBACA@allstate.com

Some or all of the information on your
Policy Declarations is used in the rating
of your policy or it could affact your
eligibility for certain coverages. Please
notify us Immediately if you believe that
any Information on your Policy
Declarations i is.Incorrect. We will make
correctlons orice. you have notified us,
and any resulting: rate adjustments, will
be made only for the currant policy
period or fof future pollcy periods.
Please also notify us immediately if you
believe any coverages are not listed or

*» are inaccurately Usted,

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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 48 of 59

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amended autg policy declarations Page 2of6
Policy nurnber: 829 505 005
Policy effective date: September 7, 2016
Listed drivers on your policy
Laurent Deckery - Married.male driver, age 37, Safe Driving Club
Odilia Nino ~ Married female driver, age 28, Safe Driving Club
Excluded drivers from your policy
None
Coverage detail for 2016 Volkswagen Passat
Coverage Umits Deductible Premium
Automobile Liability fasurance Not apalicable $239.71
@® Bodily Injury $25,000 each person
$50,000 each occurrence
&)) Property Damage $50,000 each occurrence
Gp Auto Collision Insurance Actual cash value $500 $237.19
ry Auto Comprehensive Insurance Actual cash value $0 $145.80
oS Rental Reimbursement Not purchased*
Roadside Help Not purchased*
Uninsured Matorists Insurance $110.24
Bodily Infury $25,000 each person Not applicable
$50,000 each aceldent
&) Property Darnage $50,000 each accident $250
Uninsured Motorists Insurance Sodily Injury limits of insured vehicles may be stacked.
J Automobile Medical Payments Not purchased*
Sound System Not purchased*
Tape Not purchased*
(Tétal pramlum for 2016 Volkswagen Passat -*f SRE oT SEEPS ES RET APg SEE ECT PT Vg73284)

 

* This coverage con provide you with valuable protection. To help you stay
current with your Insuronca needs, contact your Alstata agent ta discuss
coverage options and other products ond services thet con help protect you.

VIN IVWASTAS34GCO19205 (ienholder
Mountain America Cr Un (Auta)

Rating information
* This vehicle is driven over 7,500 miles per year, O-3 miles to

work/schoo!

NMOICAMD

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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 49 of 59

Amended auto policy declarations

Policy number: Page 3 of 6
Policy effective date: September 7, 2016

@) Allstate.

You're in good hands.

 

 

 

 

 

 

 

 

 

 

 

 

Coverage detail for 2000 Chrysler Town-Country

Coverage * Limits . Deductible Premtlurn

Automobile Liability Insurance Not gpelicable 386.40

@) Bodily injury $25,000 each person
$50,000 each occurrence

i) Property Damage $50,000 each occurrence

€Q Auto Collision insurance Not purchased*

GD Auto Comprehensive insurance Not purchased*

GS Renta! Retmbursement Not purchased*

Roadside Help Not purchased*

Uninsured Motorists Insurance $105.92

@® Bodily Injury $25,000 each persan Not applicable ,
$50,000 each accident

&) Property Damage $50,000 each accident | $250

Uninsured Motorists Insurance Bodily Injury limits of insured vehicles may be stacked.

> Automobile Medical Payments _ Not purthased*

i) Sound System Not purchased* . ,

Tape , Nat purchased” |

fr atl premium for 20 GO Chryster Town-Cauntry "3.00 os: ot ey eee $192.52)

* This coverage cant provide yau with valuable protection. To help yau stay
current with your insurance reads, contact your Allstate agent to discuss
‘coverage aptions and other products and services that can help protect you,

 

 

 

 

 

 

+
VIN 1C4GP44G8Y 8603593 Rating information
» This vehicle is driven over 7,500 miles per year, 0-3 miles ta
work/school . .
Coverage detail for 2015 Dodge Dart
Coverage Umits Daductibla Premium
Automobile Liability Insurance , ; , Not applicable $122.56
@®) Bodily injury ‘$25,000 each person
$50,000 each accurrence
€3)) Property Damage $50,000 each occurrence
3 Auto Collision insurance Actua! cash values” $500. $230.91
EB AvtoComprehensive insurance Actual cash value $0 $157.45
> _ Rental Reimbursement _ Notpurchased* ©’ : :
Roadside Help. $100 each disablement — Not applicable $8.00
’ (continued)

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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 50 of 59

 

 

 

 

 

 

Amended auto policy declarations Page 4 of 6

Poli¢y number. faz9 505 005]

Policy effective date: © September 7, 2016
Coverage Limits Deductibfe * Promivin
Uninsured Motorists Insurance . $112.39
@® Bodily Injury $25,000 each person Not applicable

$50,000 each accident

Sa) Property Damage $50,000 each accident $250
Uninsured Motorists Insurance:Bodlly Injury limits of insured vehicles may be stacked.
G3 Automobile Medical.Payments Not purchased*
@ Sound System Not purchased*
Tape” Not purchased*
GaiipanienieiGsbediep SY

 

* This coverage can provide you with volaabfe protection. To help you stay
current with your Insurance needs, contact your Allstate agent to discuss
coverage opens and other products and services that can help protect yar,

VIN 1C3CDF8R4FD1B7400 Lienholder
US Eagta FCU

Rating Information
= This vehicle Is driven over 7,500 miles per yest, 0-3 mifes to

work/schaol

Additional coverages

Coverage “tins —
Automobile Death Indemnity insurance _ Nat purchased*
Automobile Disability Income Protection Not purchased*

* This coverage con provide you with valuable protection, To help you stay
current with your insurance needs, contact your Allstate agent to discuss
coverage options and other products and sarvices that can help protect you.

Your policydocuments —-
Your automobile policy conststs of this Policy Declarations and the documents in the following list. Please keep these together.
» Allstate Fire and Casualty Insurance Compaay Auto Pollcy-  * Amendatory Endorsement - AP4813

AFA? ,

» New Mexico Amendatory Endorsement - AFAS9-1 ‘es Roadside Help-Coverage JJ - AFASO
* Claim Satisfaction Guarantee Amendatory Endorsement- — * New Mexico Selection of Uninsured Motorists fnsurance
AP4878 Amendatory Endorsement - AUI456%

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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 51 of 59

Amended auto policy declarations
Policy number: 829 50S COS Page Sof 6 Ail ist ate.

licy effective date: September 7, 2016
Policy effecti . ptember You're in géod hands,

Important payment and coverage information
Here Is some additional, helpful information related to your coverage and paying your bill:

> if you decide to pay your premium in Installments, there will be a $2.50 Installment fee charge far each payment due. If you
make 6 Installment payments during the policy period, and do not change your payment plan method, then the total amount of

installment fees during the policy perlod will be $27.00.

If you are on the Allstate® Easy Pay Plan, thera will be a $1.00 instaliment fee charge far each payment due. If you make 6
instafiment payments during the policy periad, and remain on the Allstate® Easy Pay Plan, then the total amount of installment

fees during the policy period will be $6.00.

If you change payment plan methods or make additional payments, your installment fee charge for each payment dueand the
total amount of installment fees during the policy period may change or even increase.

Please nate that the Allstate® Easy Pay Plan allows youto have your insurance payments automatically deducted from your
checking or savings account.

New Mexico required communications
Under New Mexico law, you have tha right to:

« select Uninsured Motorists jasurance linits equal to your Liability Insurance limits;

» select Uninsured Motorists Insurance llmits lower than your tlabllity insurance limits but.equal to or greater than New
Mexico's financlal responsibility minlmum limits; or

* reject Uninsured Motorists Insurance fimits entirely.

> You have elected to o purchase Uninsured Motorists Insurance tn equal Jimits. This policy has been Issued with Uninsured
Motorists insurance fienits equal te your Ulability Insurance ifmits.

 

Allstate Fire and Casualty Insurance Company's Secretary and Presiderd have signed this policy with legal authority at
Northbrook, illinois.

Pe shea law

Steven P, Sorenson Susan.L. Leas
President Secretary

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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 52 of 59

Amended aute policy declarations Page 6 of 6

Policy number:
Policy effective date: © September 7, 2016

Supplement to Policy Declarations
This docurnent farms a part of your Policy Declarations.

Regarding your Uninsured Motorists Insurance coverage, you have:

selected stacked Uninsured Motorists insurance for Bodily Injury at (mits equal.te your policy's Badily Injury Liability Insurance
fimits of $25,000/$50,000.

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Policy Endorsement Page 1of1 @ Ai [ state.

Poticy number; 629 505605

Policy effective date: September 7, 2016

The following endorsernent changes yaur policy.
Please read this document carefully and keep it with

your paticy.

New Mexico
Selection of Uninsured Motorists

insurance
Amendatory Endorsement ~ AU14561

Under New Mexico faw, you have the right to purchase
Uninsured Motorists Insurance in an amount equal to your
Bodily Injury and Froperty Damage Liability Coverage limits.

itis agreed that:

1. Wehave offered you and you have accepted the optian to
purchase Uninsured Motorists lasurance in an arnount
equal to your Bodily Injury and Property Damage Liability
Coverage limits.

_ 2. This selection shall be binding on all persons Insured under
the polley and shall apply to future renewals,
continuations, reinstatemants, substitutions, transfers,
amendments and replacements of this policy unless you
request in weiting that Uninsured Motorists Insurance be

amended.

All other polley terms and conditions apply.

You're in good hands.

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PARTIAL SETTLEMENT AGREEMENT

This Settlement Agreement (“Agreement”) {s entered into by and between the
following parties with respect to the following facts and recitals:
PARTIES
Claimants/Insureds Odilia Nifio and Laurent Dockery referred to as “Claimants,
Insureds or Settling Parties.”

Insurer: Allstate Indemnity Company.

FACTS AND RECITALS

4.  Odilia Nifio and Laurent Dockery allege that on or about March 6, 2017 two
of their vehicies, a 2015 Dodge Dart and a 2016 VM Passat were stolen by unknown
individuats, or individual, resulting in two separate incidents upon which claims were
made through their insurance company (hereinafter referred to as “two incidents’).

2. At the time of the alleged thefts, Odilia Nifio and Laurent Dockery were

insured with Allstate Indemnity Company under Policy No. 000829505005.
3. Odilia Nifio and Laurent Dockery submitted separate claims to Allstate for

the theft of the Dart and the theft of the Passat, as well as for contents of the vehicles,
joss of use, diminution of value, storage, towing value, and for repairs.

4, In addition, Odilia Nifto and Laurent Dockery allege that Allstate improperly
handled each of their claims arising out of the two thefts.

§. Allstate denies the allegations.

The parties hereto desire to settle the claims of Odilia Nifio and Laurent Dockery,

and thereby covenant, promise, and agree as follows:

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AGREEMENT

in consideration of the payment to Odilia Nifio and Laurent Dockery the sum of
FORTY-FIVE THOUSAND DOLLARS AND NO/100 ($45,000.00) and the agreements
set forth herein, and Odilia Nifio and Laurent Dockery being of lawful age, itis agreed as
follows: In exchange for the payment of the $45,000.00, Laurent Dockery and Odilia Nifio
will release Allstate from all alleged prior bad faith/extracontractual claims, claims for
property damages, loss of use, diminished value, and any other such claims connected
to the loss or damage to the described vehicles, Including attorney fees. Allstate
previously paid for the value of the Passat as atotalloss. The Dart is currently undergoing
repairs, and Allstate agrees to complete all related repairs to the Dart.

Expressly excluded from this release are Laurent Dockery and Odilia Nifio's
separate claims for punitive damages for each of the two incidents described above under
the UMPD portion of their coverage. Allstate agrees to continue to adjust Laurent
Dockery's and Odilia Nifio's separate claims for the punitive damages stemming from the
two incidents; Allstate Claim No. 0497264812 and Allstate Claim No. 0497266262.
Further, excluded from the release would be any claims handling irreqularities/bad faith
claims that may arise in connection with Allstate’s adjusting of Laurent Dockery's and
Odilla Nifio’s separate claims for punitive damages.

it is also understood and agreed by Odilia Nifio and Laurent Dockery that this
release includes and discharges any claim of statutory violation or tortious misconduct or
any other claim which arise directly or indirectly from the conduct of Allstate in responding
to the claims, such as unfair insurance practices, unfair trade practices, bad faith,

intentional or negligent infliction of emotional distress, outrage, intentional or interference

Oditia Nifio and Laurent Dockery Page 2 of §

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with prospective economic advantage, fraud, misrepresentation and spoliation of
evidence related to the two incidents, except as noted above relating to Laurent Dockery’s
and Odilia Nifio's separate claims for punitive damages.
COMPROMISE OF DISPUTED CLAIMS

itis understood and agreed by the parties that this is a compromise settlement of
disputed claims, including, among others, the obligations or the parties with respect to all
present and future obligations, and the performance of the above obligations do not
constitute an admission of any liability or the existence of any obligation of any kind
whatsoever by any party. Alistate takes no position on the amount assigned out of the
settlement sum as compensatory damages, other than to acknowledge that some portion

is for compensatory damages as a basis for punitive damages.

SUCCESSORS AND ASSIGNS

 

lils understood and agreed by each party that the agreements, undertakings, acts
and other things done to or to be done by Odilia Nifia and Laurent Dockery or their

attorneys in this Agreement shall run to and be binding upon their heirs, successors,

executors, administrators and assigns,

ENTIRE AGREEMENT
All agreements, covenants, representations and warranties, expressed and
implied, oral and written, of the parties to this Agreement concerning its subject matter
are contained herein. No other agreements, covenants, representations or warranties,
expressed or implied, oral or written, have been made by any party to any other party

concerning the subject matter or this Agreement. All prior and contemporaneous

Odilia Nifio and Laurent Dockery Page 3 of §
DOCKERY00G18

 
Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 58 of 59

conversations, negotiations, alleged agreements, representations, covenants and
warranties conceming a subject matter of this action are merged herein. This is an
integrated Agreement.
INDEPENDENT COUNSEL

Odilia Nifio and Laurent Dockery acknowledge and declare that they are fully and
completely informed as to their rights and the release of claims made herein; that they
have given mature and careful thought and consideration to the making of this Agreement
and to ail of the obligations hereby extinguished or created; that this Agreement is made
voluntarily by Odilia Nifio and Laurent Dockery after advice of independent counsel, free
from undue influence, coercion, duress, menace or fraud of any kind; that this Agreement,
and each and every paragraph and every part thereof has been carefully read and
explained; and that they fully and completely understand and cognizant of all the terms

and conditions of the effect of each and all of said terms and conditions contained in this

Agreement,

Odilia Nific and Laurent Dockery Page 4 of §

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Case 1:19-cv-00190-RB-GJF Document 1-1 Filed 03/07/19 Page 59 of 59

CONSENT

| have read and agreed to the foregoing.

DATED: SOP:
Bale

DATED:

 

 

STATE OF NEW MEXICO )
) ss.
COUNTY OF )

SUBSCRIBED AND SWORN to me this ead day of April 2018, by Odilia Nifio.

oy comifnission expires: AC
ry Public

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‘ mem
Bi Pyne
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Oe ar
ws

STATE OF NEW MEXICO )
) $s.

COUNTY OF )

SUBSCRIBED AND SWORN to me this4o/ day of At 2018, by Laurent
Dockery.

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x My m .
* Np Aetfison expires:
=n otafy Public
vs + :

 

Odilia Nifio and Laurent Dockery Page 5 of §
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